     Case 1:14-cr-00233-DAD-BAM Document 28 Filed 01/18/22 Page 1 of 1


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6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                  )       Case №: 1:14-CR-00233-1-DAD
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11    RANDALL MCBRIDE,                           )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to his financial
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15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that David A. Torres be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to January 11, 2022.
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            This appointment shall remain in effect until further order of this court.
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22   DATED: 1/18/2022
23
                                                     ____________________________
24                                                   HON. SHEILA K. OBERTO
                                                     United States Magistrate Judge
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